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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


APOTEX, INC.,

                    Plaintiff,
                                                   Case No.: 12-CV-09295
v.
                                                   Judge Sharon Johnson Coleman
DAIICHI SANKYO, INC. and                           Magistrate Judge Mary M. Rowland
DAIICHI SANKYO CO., LTD.

                    Defendants.


     DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 12(b)(1), Defendants Daiichi Sankyo, Inc.

and Daiichi Sankyo Co., Ltd. (collectively “Daiichi Sankyo”) hereby move to dismiss Plaintiff

Apotex, Inc.’s (“Apotex”) amended complaint for the reasons set forth in the attached supporting

memorandum.
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                                           Respectfully submitted,

Dated: April 9, 2013                           /s/ David C. Van Dyke
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                                          Inc. and Daiichi Sankyo Co., Ltd.
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                                CERTIFICATE OF SERVICE

       The undersigned attorney, upon oath, hereby certifies that he served a copy of the

foregoing Motion to Dismiss Plaintiff’s Amended Complaint upon the parties by causing a true

and correct copy thereof to be electronically filed and delivered using the Court’s ECF system on

the 9th day of April, 2013.


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Dated: April 9, 2013                                        /s/David C. Van Dyke
